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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                                            Case No. 6:24-cv-1097-PGB-RMN

JONATHAN DRUMMOND,

      Plaintiff,

v.

HAVERTY FURNITURE
COMPANIES, INC.,

      Defendant.

_________________________________/


             NOTICE OF PENDENCY OF OTHER ACTIONS

     In accordance with Local Rule 1.07(c), I certify that the instant action:

      _____ IS           related to pending or closed civil or criminal case(s)
                         previously filed in this Court, or any other Federal or
                         State court, or administrative agency as indicated
                         below: ________________________________________



      X___ IS NOT       related to any pending or closed civil or criminal case
                        filed with this Court, or any other Federal or State
                        court, or administrative agency.


      I further certify that I will serve a copy of this Notice of Pendency of
Other Actions upon each party no later than fourteen days after appearance of
the party.



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      Dated: June 19, 2024



                                  ALEKSANDRA KRAVETS, ESQ. P.A.
                                  Counsel for Plaintiff
                                  1100 Buchanan Street
                                  Hollywood, FL 33019
                                  Tel.: 347.268.9533
                                  Email: ak@akesqpa.com

                                  By: /s/ Aleksandra Kravets
                                  Aleksandra Kravets
                                  Florida Bar No.: 120562




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